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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA

 IN THE MATTER OF:                                                      CASE NUMBER: 15-10016
 HESS, RYAN L

                                                                        Section “B”

 DEBTOR(S)                                                              CHAPTER 7

                            OBJECTION TO TARDILY FILED CLAIM

         NOW INTO COURT comes Ronald J. Hof, Chapter 7 Trustee, who respectfully

 represents:

         1. Your applicant is the duly qualified and acting trustee in this case.

         2. Claim Number 30 was filed by Sher Tremonte, LLP on October 15, 2015 as an unsecured

 claim in the amount of $58,030.62. The proof of claim was filed after the deadline for filing claims,

 which was July 16, 2015.

         3. Accordingly, Trustee submits that Claim Number 30 should be disallowed as a timely

 filed general unsecured claim and should be recognized as a tardily filed claim under Section 726 of

 the Bankruptcy Code.

         WHEREFORE, Trustee prays that after proper notice and hearing, the Court enter an order

 reclassifying the proof of claim as requested in this Objection and that he have such other and further

 relief as is just and equitable.

                                                        Respectfully submitted,

                                                        _/s/ Ronald J. Hof_____________________
                                                        Ronald J. Hof
                                                        Chapter 7 Trustee
                                                        9905 Jefferson Hwy.
                                                        River Ridge, Louisiana 70123
                                                        Tel: 504-305-1591
